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                    EXHIBIT 1
                            Case 1:17-cv-02041-RJL Document 105-2 Filed 09/11/20 Page 2 of 4

   From: Nuland, Victoria J
   Sent: Thursday, 05 March 2015 13:47
   To: Mnxam1 <l>ptt!-~MaH
   Subject: Re:


   Thanks, M. I was frankly surprised the question came up. Best, t




   From: 1v:1axarrn <DpII,u;MaH
   Sent: Thursday, March 5, 2015 8:15 AM
   To: Nuland, Victoria J
   Subject:


   Dear l\1rs. Nuland.

   I would like to express our sincere gratitude for your support to our company and to me personally which you have demonstrated during your recent speech in Congress. This support is
   extremely important for us right now especially in the conditions of conflicts escalation between Russia and the \Vest which caused the growing challenges of development of our
   business in the European Union

   I firmly believe that the problems in political relations between the two countries should not interfere the cooperation in the humanitarian sphere. in the sphere of science, should not be
   an obstacle to investment of independent private Russian business into Western economy, and \Vestern -- to Russia

   I am pleased to have the opportunity to discuss these issues with you and I am glad that you share my persuasions that consolidation of cooperation between private companies of
   Russia and the \Nest, the mutual renunciation of discrimination of such companies will serve to normalization in the political relations in the future as well.

   Thank you once again :for your support.

    Sincerely yours,

   Mikhail Fridman




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    From: Mnxairn <Dpn1-1MaH
   Sent: Thursday, 05 March 2015 13: 16
   To: nulaudvj@state.gov
   Subject:

   Dear Mrs. Nuland,



   I would like to express our sincere gratitude for your support to our company and to me personally which you have demonstrated
   during your recent speech in Congress. This support is extremely important for us right now especially in the conditions of conflicts
   escalation between Russia and the West which caused the growing challenges of development of our business in the European
   Union.



   I firmly believe that the problems in political relations between the two cmmtries should not interfere the cooperation in the
   humanitarian sphere, in the sphere of science, should not be an obstacle to investment of independent private Russian business into
   W estem economy, and W estem - to Russia.



   I am pleased to have the opport1mity to discuss these issues with you and I am glad that you share my persuasions that
   consolidation of cooperation between private companies of Russia and the West, the mutual renunciation of discrimination of such
   companies will serve to nonnalization in the political relations in the future as well.



   Thank you once again for your support.



    Sincerely yours,



   Mikhail Fridman




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                       Case 1:17-cv-02041-RJL Document 105-2 Filed 09/11/20 Page 4 of 4

    From: Mnxairn <Dpn1-1MaH
   Sent: Thursday, 05 March 2015 13: 16
   To: nulaudvj@state.gov
   Subject:

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   consolidation of cooperation between private companies of Russia and the West, the mutual renunciation of discrimination of such
   companies will serve to nonnalization in the political relations in the future as well.



   Thank you once again for your support.



    Sincerely yours,



   Mikhail Fridman




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